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       STEPHEN NORBERG
  15
  16
  17
  18                  IN THE UNITED STATES DISTRICT COURT
  19                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  20
       MONSTER ENERGY COMPANY,             ) Case No. 5:18-cv-01367-AB (ASx)
  21
       a Delaware corporation,             )
                                           ) PROTECTIVE ORDER
  22
                   Plaintiff,              )
                                           )
  23
             v.                            )
                                           )
  24
       THUNDER BEAST LLC, a District       )
       of Columbia limited liability       )
  25
       company, and                        )
                                           )
  26
       STEPHEN NORBERG, an                 )
       individual,                         )
  27                                       )
                   Defendants.             )
  28
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   1   1.    A. PURPOSES AND LIMITATIONS
   2         Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation
   5   may be warranted. Accordingly, the parties hereby stipulate to and petition the
   6   Court to enter the following Stipulated Protective Order. The parties
   7   acknowledge that this Order does not confer blanket protections on all
   8   disclosures or responses to discovery and that the protection it affords from
   9   public disclosure and use extends only to the limited information or items that
  10   are entitled to confidential treatment under the applicable legal principles. The
  11   parties further acknowledge, as set forth in Section 12.3, below, that this
  12   Stipulated Protective Order does not entitle them to file confidential information
  13   under seal; Civil Local Rule 79-5 sets forth the procedures that must be
  14   followed and the standards that will be applied when a party seeks permission
  15   from the court to file material under seal.
  16         B. GOOD CAUSE STATEMENT
  17   This action is likely to involve trade secrets, customer and pricing lists and other
  18   valuable research, development, commercial, financial, marketing and/or
  19   proprietary information for which special protection from public disclosure and
  20   from use for any purpose other than prosecution of this action is warranted.
  21   Such confidential and proprietary materials and information consist of, among
  22   other things, confidential business or financial information, information
  23   regarding confidential business practices, or other confidential research,
  24   development, or commercial information (including information implicating
  25   privacy rights of third parties), information otherwise generally unavailable to
  26   the public, or which may be privileged or otherwise protected from disclosure
  27   under state or federal statutes, court rules, case decisions, or common law.
  28                                           -1-
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   1   Accordingly, to expedite the flow of information, to facilitate the prompt
   2   resolution of disputes over confidentiality of discovery materials, to adequately
   3   protect information the parties are entitled to keep confidential, to ensure that
   4   the parties are permitted reasonable necessary uses of such material in
   5   preparation for and in the conduct of trial, to address their handling at the end of
   6   the litigation, and serve the ends of justice, a protective order for such
   7   information is justified in this matter. It is the intent of the parties that
   8   information will not be designated as confidential for tactical reasons and that
   9   nothing be so designated without a good faith belief that it has been maintained
  10   in a confidential, non-public manner, and there is good cause why it should not
  11   be part of the public record of this case.
  12
  13   2. DEFINITIONS
  14         2.1 Action: this pending federal lawsuit.
  15         2.2 Challenging Party: a Party or Non-Party that challenges the
  16   designation of information or items under this Order.
  17         2.3 “CONFIDENTIAL” Information or Items: information (regardless of
  18   how it is generated, stored or maintained) or tangible things that qualify for
  19   protection under Federal Rule of Civil Procedure 26(c), and as specified above
  20   in the Good Cause Statement.
  21         2.4 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  22   Information or Items: information (regardless of how it is generated, stored or
  23   maintained) or tangible things that qualify for protection under Federal Rule of
  24   Civil Procedure 26(c), and as specified in the Good Cause Statement, and also
  25   the disclosure of which to another party or non-party may harm the competitive
  26   position of the party producing the information. Examples of information that
  27   could be considered HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  28                                            -2-
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   1   ONLY include sales volumes, sales units, cost of goods sold, price structures,
   2   discounts, business costs, profits, margins, product development documents,
   3   marketing strategies, competitive business plans, and the identity of customers.
   4          2.5 Counsel: Outside Counsel of Record and House Counsel (as well as
   5   their support staff).
   6          2.6 Designating Party: a Party or Non-Party that designates information
   7   or items that it produces in disclosures or in responses to discovery as
   8   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   9   ONLY.”
  10          2.7 Disclosure or Discovery Material: all items or information, regardless
  11   of the medium or manner in which it is generated, stored, or maintained
  12   (including, among other things, testimony, transcripts, and tangible things), that
  13   are produced or generated in disclosures or responses to discovery in this matter.
  14          2.8 Expert: a person with specialized knowledge or experience in a matter
  15   pertinent to the litigation who has been retained by a Party or its counsel to
  16   serve as an expert witness or as a consultant in this Action.
  17          2.9 House Counsel: attorneys who are employees of a party to this
  18   Action. House Counsel does not include Outside Counsel of Record or any
  19   other outside counsel.
  20          2.10 Non-Party: any natural person, partnership, corporation, association,
  21   or other legal entity not named as a Party to this action.
  22          2.11 Outside Counsel of Record: attorneys who are not employees of a
  23   party to this Action but are retained to represent or advise a party to this Action
  24   and have appeared in this Action on behalf of that party or are affiliated with a
  25   law firm which has appeared on behalf of that party, and includes support staff.
  26
  27
  28                                           -3-
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   1         2.12 Party: any party to this Action, including all of its officers, directors,
   2   employees, consultants, retained experts, and Outside Counsel of Record (and
   3   their support staffs).
   4         2.13 Producing Party: a Party or Non-Party that produces Disclosure or
   5   Discovery Material in this Action.
   6         2.14 Professional Vendors: persons or entities that provide litigation
   7   support services (e.g., photocopying, videotaping, translating, preparing exhibits
   8   or demonstrations, and organizing, storing, or retrieving data in any form or
   9   medium) and their employees and subcontractors.
  10         2.15 Protected Material: any Disclosure or Discovery Material that is
  11   designated    as   “CONFIDENTIAL” or           “HIGHLY CONFIDENTIAL –
  12   ATTORNEYS’ EYES ONLY.”
  13         2.16 Receiving Party: a Party that receives Disclosure or Discovery
  14   Material from a Producing Party.
  15
  16   3. SCOPE
  17   The protections conferred by this Stipulation and Order cover not only Protected
  18   Material (as defined above), but also (1) any information copied or extracted
  19   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
  20   Protected Material; and (3) any testimony, conversations, or presentations by
  21   Parties or their Counsel that might reveal Protected Material.
  22         However, the protections conferred by this Stipulation and Order do not
  23   cover the following information: (a) any information that is in the public domain
  24   at the time of disclosure to a Receiving Party or becomes part of the public
  25   domain after its disclosure to a Receiving Party as a result of publication not
  26   involving a violation of this Order, including becoming part of the public record
  27   through trial or otherwise; and (b) any information known to the Receiving
  28                                           -4-
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   1   Party prior to the disclosure or obtained by the Receiving Party after the
   2   disclosure from a source who obtained the information lawfully under no
   3   obligation of confidentiality to the Designating Party.
   4         Any use of Protected Material at trial shall be governed by the orders of
   5   the trial judge. This Order does not govern the use of Protected Material at trial.
   6
   7   4. DURATION
   8         Even after final disposition of this litigation, the confidentiality
   9   obligations imposed by this Order shall remain in effect until a Designating
  10   Party agrees otherwise in writing or a court order otherwise directs. Final
  11   disposition shall be deemed to be the later of (1) dismissal of all claims and
  12   defenses in this Action, with or without prejudice; and (2) final judgment herein
  13   after the completion and exhaustion of all appeals, rehearings, remands, trials, or
  14   reviews of this Action, including the time limits for filing any motions or
  15   applications for extension of time pursuant to applicable law.
  16
  17   5. DESIGNATING PROTECTED MATERIAL
  18         5.1 Exercise of Restraint and Care in Designating Material for Protection.
  19         Each Party or Non-Party that designates information or items for
  20   protection under this Order must take care to limit any such designation to
  21   specific material that qualifies under the appropriate standards. The Designating
  22   Party must designate for protection only those parts of material, documents,
  23   items, or oral or written communications that qualify so that other portions of
  24   the material, documents, items, or communications for which protection is not
  25   warranted are not swept unjustifiably within the ambit of this Order.
  26         Mass, indiscriminate, or routinized designations are prohibited.
  27   Designations that are shown to be clearly unjustified or that have been made for
  28                                           -5-
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   1   an improper purpose (e.g., to unnecessarily encumber the case development
   2   process or to impose unnecessary expenses and burdens on other parties) may
   3   expose the Designating Party to sanctions.
   4         If it comes to a Designating Party’s attention that information or items
   5   that it designated for protection do not qualify for protection, that Designating
   6   Party must promptly notify all other Parties that it is withdrawing the
   7   inapplicable designation.
   8         5.2 Manner and Timing of Designations. Except as otherwise provided in
   9   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  10   stipulated or ordered, Disclosure or Discovery Material that qualifies for
  11   protection under this Order must be clearly so designated before the material is
  12   disclosed or produced.
  13         Designation in conformity with this Order requires:
  14         (a) for information in documentary form (e.g., paper or electronic
  15   documents, but excluding transcripts of depositions or other pretrial or trial
  16   proceedings), that the Producing Party affix at a minimum, the legend
  17   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  18   ONLY” (hereinafter “CONFIDENTIALITY legend”), to each page that
  19   contains protected material. If only a portion or portions of the material on a
  20   page qualifies for protection, the Producing Party also must clearly identify the
  21   protected portion(s) (e.g., by making appropriate markings in the margins).
  22         A Party or Non-Party that makes original documents available for
  23   inspection need not designate them for protection until after the inspecting Party
  24   has indicated which documents it would like copied and produced. During the
  25   inspection and before the designation, all of the material made available for
  26   inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’
  27   EYES ONLY.” After the inspecting Party has identified the documents it wants
  28                                          -6-
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   1   copied and produced, the Producing Party must determine which documents, or
   2   portions thereof, qualify for protection under this Order. Then, before producing
   3   the   specified    documents,    the    Producing    Party     must     affix   the
   4   “CONFIDENTIALITY legend” to each page that contains Protected Material. If
   5   only a portion or portions of the material on a page qualifies for protection, the
   6   Producing Party also must clearly identify the protected portion(s) (e.g., by
   7   making appropriate markings in the margins).
   8         (b) for a deposition transcript, the Producing Party shall designate the
   9   transcript   as   “CONFIDENTIAL”        or   “HIGHLY         CONFIDENTIAL        –
  10   ATTORNEYS’ EYES ONLY” by requesting such treatment thereof either on
  11   the record at the time of the deposition or by written notice to all counsel of
  12   record within twenty-one (21) days after the date of the deposition. Such
  13   written notice shall specifically identify by page and line number all portions of
  14   the transcript that should be treated as “CONFIDENTIAL” or “HIGHLY
  15   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in accordance with this
  16   Stipulated Protective Order.     All counsel receiving such notice shall be
  17   responsible for marking the copies of the designated transcript or portion thereof
  18   in their possession or control as provided for in the written notice. The parties
  19   shall not disseminate a deposition transcript or the contents thereof beyond the
  20   persons designated in Paragraph 7.3 below for a period of twenty-one (21) days
  21   after the date of the deposition, except that portions of the transcript may be
  22   filed under seal with the Court in connection with these proceedings.
  23         (c) for information produced in some form other than documentary and
  24   for any other tangible items, that the Producing Party affix in a prominent place
  25   on the exterior of the container or containers in which the information is stored
  26   the “CONFIDENTIALITY legend.” If only a portion or portions of the
  27
  28                                          -7-
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   1   information warrants protection, the Producing Party, to the extent practicable,
   2   shall identify the protected portion(s).
   3         5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent
   4   failure to designate qualified information or items does not, standing alone,
   5   waive the Designating Party’s right to secure protection under this Order for
   6   such material. Upon timely correction of a designation, the Receiving Party
   7   must make reasonable efforts to assure that the material is treated in accordance
   8   with the provisions of this Order.
   9
  10   6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  11         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
  12   designation of confidentiality at any time that is consistent with the Court’s
  13   Scheduling Order.
  14         6.2 Meet and Confer. The Challenging Party shall initiate the dispute
  15   resolution process under Local Rule 37.1 et seq.
  16         6.3 The burden of persuasion in any such challenge proceeding shall be
  17   on the Designating Party. Frivolous challenges, and those made for an improper
  18   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  19   parties) may expose the Challenging Party to sanctions. Unless the Designating
  20   Party has waived or withdrawn the confidentiality designation, all parties shall
  21   continue to afford the material in question the level of protection to which it is
  22   entitled under the Producing Party’s designation until the Court rules on the
  23   challenge.
  24   ///
  25   ///
  26   ///
  27   ///
  28                                              -8-
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    1   7. ACCESS TO AND USE OF PROTECTED MATERIAL
    2         7.1 Basic Principles. A Receiving Party may use Protected Material that
    3   is disclosed or produced by another Party or by a Non-Party in connection with
    4   this Action only for prosecuting, defending, or attempting to settle this Action.
    5   Such Protected Material may be disclosed only to the categories of persons and
    6   under the conditions described in this Order. When the Action has been
    7   terminated, a Receiving Party must comply with the provisions of section 13
    8   below (FINAL DISPOSITION).
    9         Protected Material must be stored and maintained by a Receiving Party at
   10   a location and in a secure manner that ensures that access is limited to the
   11   persons authorized under this Order.
   12         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless
   13   otherwise ordered by the court or permitted in writing by the Designating Party,
   14   a Receiving Party may disclose any information or item designated
   15   “CONFIDENTIAL” only to:
   16         (a) the Receiving Party’s Outside Counsel of Record in this Action, as
   17   well as employees of said Outside Counsel of Record to whom it is reasonably
   18   necessary to disclose the information for this Action;
   19         (b) the officers, directors, and employees (including House Counsel) of
   20   the Receiving Party to whom disclosure is reasonably necessary for this Action;
   21         (c) Experts (as defined in this Order) of the Receiving Party to whom
   22   disclosure is reasonably necessary for this Action and who have signed the
   23   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   24         (d) the court and its personnel;
   25         (e) court reporters and their staff;
   26
   27
   28                                            -9-
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    1         (f) professional jury or trial consultants, mock jurors, and Professional
    2   Vendors to whom disclosure is reasonably necessary for this Action and who
    3   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    4         (g) the author, recipient, or custodian of a document containing the
    5   information;
    6         (h) during their depositions, witnesses, and attorneys for witnesses, in the
    7   Action to whom disclosure is reasonably necessary provided: (1) the deposing
    8   party requests that the witness sign the form attached as Exhibit A hereto; and
    9   (2) they will not be permitted to keep any confidential information unless they
   10   sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
   11   otherwise agreed by the Designating Party or ordered by the court. Pages of
   12   transcribed deposition testimony or exhibits to depositions that reveal Protected
   13   Material may be separately bound by the court reporter and may not be
   14   disclosed to anyone except as permitted under this Stipulated Protective Order;
   15   and
   16         (i) any mediator or settlement officer, and their supporting personnel,
   17   mutually agreed upon by any of the parties engaged in settlement discussions.
   18         7.3 Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   19   ONLY” Information or Items.        Unless otherwise ordered by the court or
   20   permitted in writing by the Designating Party, a Receiving Party may disclose
   21   any   information   or   item designated      “HIGHLY      CONFIDENTIAL         –
   22   ATTORNEYS’ EYES ONLY” only to the persons identified in Sections 7.2(a)
   23   and 7.2(c)-(h) of this Order and the Receiving Party’s House Counsel, but not to
   24   a Receiving Party’s officers, directors, or employees.
   25   ///
   26   ///
   27   ///
   28                                         -10-
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    1   8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
    2   IN OTHER LITIGATION
    3         If a Party is served with a subpoena or a court order issued in other
    4   litigation that compels disclosure of any information or items designated in this
    5   Action    as   “CONFIDENTIAL”          or     “HIGHLY      CONFIDENTIAL         –
    6   ATTORNEYS’ EYES ONLY,” that Party must:
    7         (a) promptly notify in writing the Designating Party. Such notification
    8   shall include a copy of the subpoena or court order;
    9         (b) promptly notify in writing the party who caused the subpoena or order
   10   to issue in the other litigation that some or all of the material covered by the
   11   subpoena or order is subject to this Protective Order. Such notification shall
   12   include a copy of this Stipulated Protective Order; and
   13         (c) cooperate with respect to all reasonable procedures sought to be
   14   pursued by the Designating Party whose Protected Material may be affected.
   15         If the Designating Party timely seeks a protective order, the Party served
   16   with the subpoena or court order shall not produce any information designated
   17   in this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
   18   ATTORNEYS’ EYES ONLY” before a determination by the court from which
   19   the subpoena or order issued, unless the Party has obtained the Designating
   20   Party’s permission. The Designating Party shall bear the burden and expense of
   21   seeking protection in that court of its confidential material and nothing in these
   22   provisions should be construed as authorizing or encouraging a Receiving Party
   23   in this Action to disobey a lawful directive from another court.
   24   ///
   25   ///
   26   ///
   27   ///
   28                                          -11-
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    1   9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    2   PRODUCED IN THIS LITIGATION
    3         The terms of this Order are applicable to information produced by a Non-
    4   Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
    5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced
    6   by Non-Parties in connection with this litigation is protected by the remedies
    7   and relief provided by this Order. Nothing in these provisions should be
    8   construed as prohibiting a Non-Party from seeking additional protections.
    9
   10   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   11         If a Receiving Party learns that, by inadvertence or otherwise, it has
   12   disclosed Protected Material to any person or in any circumstance not
   13   authorized under this Stipulated Protective Order, the Receiving Party must
   14   immediately (a) notify in writing the Designating Party of the unauthorized
   15   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
   16   Protected Material, (c) inform the person or persons to whom unauthorized
   17   disclosures were made of all the terms of this Order, and (d) request such person
   18   or persons to execute the “Acknowledgment and Agreement to Be Bound” that
   19   is attached hereto as Exhibit A.
   20
   21   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   22   PROTECTED MATERIAL
   23         The production of privileged or work-product protected documents,
   24   electronically stored information or information, whether inadvertent or
   25   otherwise, is not a waiver of the privilege or protection from discovery in this
   26   case or in any other federal or state proceeding. This Order shall be interpreted
   27   to provide the maximum protection allowed by Federal Rule of Evidence 502.
   28                                         -12-
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    1   If a Party through inadvertence produces or provides Disclosure or Discovery
    2   Material which it believes is subject to a claim of an applicable privilege, the
    3   Producing Party may give written notice within fourteen (14) days after learning
    4   of the inadvertent production to the Receiving Party or Parties that the
    5   Disclosure or Discovery Material is subject to a claim of privilege and request
    6   that it be returned to the Producing Party. If a Producing Party or Non-Party
    7   requests the return, pursuant to this paragraph, of any Disclosure or Discovery
    8   Material, the Receiving Party or Parties shall not use or disclose, and shall
    9   immediately return to the Producing Party all copies of such Disclosure or
   10   Discovery Material or confirm that all copies have been destroyed. Return of the
   11   Disclosure or Discovery Material by the Receiving Party shall not constitute an
   12   admission or concession, or permit any inference, that the returned Disclosure or
   13   Discovery Material is, in fact, properly subject to a claim of privilege nor shall it
   14   foreclose any Party from moving the court for an order that such Disclosure or
   15   Discovery Material has been improperly designated for reasons other than a
   16   waiver caused by the inadvertent production.
   17
   18   12. MISCELLANEOUS
   19         12.1 Right to Further Relief. Nothing in this Order abridges the right of
   20   any person to seek its modification by the Court in the future.
   21         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   22   Protective Order no Party waives any right it otherwise would have to object to
   23   disclosing or producing any information or item on any ground not addressed in
   24   this Stipulated Protective Order. Similarly, no Party waives any right to object
   25   on any ground to use in evidence of any of the material covered by this
   26   Protective Order.
   27
   28                                           -13-
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    1         12.3 Filing Protected Material. A Party that seeks to file under seal any
    2   Protected Material must comply with Civil Local Rule 79-5. Protected Material
    3   may only be filed under seal pursuant to a court order authorizing the sealing of
    4   the specific Protected Material at issue. If a Party's request to file Protected
    5   Material under seal is denied by the court, then the Receiving Party may file the
    6   information in the public record unless otherwise instructed by the court.
    7
    8   13. FINAL DISPOSITION
    9         Within sixty (60) days after the final disposition of this Action, as defined
   10   in paragraph 4, each Receiving Party must return all Protected Material to the
   11   Producing Party or destroy such material. As used in this subdivision, “all
   12   Protected Material” includes all copies, abstracts, compilations, summaries, and
   13   any other format reproducing or capturing any of the Protected Material.
   14   Whether the Protected Material is returned or destroyed, the Receiving Party
   15   must submit a written certification to the Producing Party (and, if not the same
   16   person or entity, to the Designating Party) by the 60 day deadline that (1)
   17   identifies (by category, where appropriate) all the Protected Material that was
   18   returned or destroyed and (2) affirms that the Receiving Party has not retained
   19   any copies, abstracts, compilations, summaries or any other format reproducing
   20   or capturing any of the Protected Material. Notwithstanding this provision,
   21   Counsel are entitled to retain an archival copy of all pleadings, motion papers,
   22   trial, deposition, and hearing transcripts, legal memoranda, correspondence,
   23   deposition and trial exhibits, expert reports, attorney work product, and
   24   consultant and expert work product, even if such materials contain Protected
   25   Material. Any such archival copies that contain or constitute Protected Material
   26   remain subject to this Protective Order as set forth in Section 4 (DURATION).
   27   ///
   28                                          -14-
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    1   14. Any violation of this Order may be punished by any and all appropriate
    2   measures including, without limitation, contempt proceedings and/or monetary
    3   sanctions.
    4
    5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    6   DATED November 12, 2018
    7    /s/ Matthew S. Bellinger
    8   Attorneys for Plaintiff
    9
   10   DATED November 12, 2018
   11    /s/ Eve J. Brown (with permission)
   12   Attorneys for Defendant
   13
   14   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   15   DATED: ________________________
                November 15, 2018
   16
   17
   18   _____________________________________
                      /s/
   19   Honorable Alka Sagar
        United States Magistrate Judge
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    1                                              EXHIBIT A
    2                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3            I,   _____________________________           [print    or   type    full       name],    of
    4   _________________ [print or type full address], declare under penalty of perjury that I have
    5   read in its entirety and understand the Stipulated Protective Order that was issued by the

    6   United States District Court for the Central District of California on                  [date] in the

    7   case of Monster Energy Company v. Thunder Beast LLC and Stephen Norberg, Case No.

    8   5:18-cv-01367-AB-AS. I agree to comply with and to be bound by all the terms of this

    9   Stipulated Protective Order and I understand and acknowledge that failure to so comply could

   10   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I

   11   will not disclose in any manner any information or item that is subject to this Stipulated

   12   Protective Order to any person or entity except in strict compliance with the provisions of this
   13   Order.
   14            I further agree to submit to the jurisdiction of the United States District Court for the
   15   Central District of California for the purpose of enforcing the terms of this Stipulated
   16   Protective Order, even if such enforcement proceedings occur after termination of this action.

   17   I   hereby    appoint   __________________________          [print   or   type   full    name]    of

   18   _______________________________________ [print or type full address and telephone

   19   number] as my California agent for service of process in connection with this action or any

   20   proceedings related to enforcement of this Stipulated Protective Order.

   21            Date: ______________________________________

   22            City and State where sworn and signed: ________________________________

   23            Printed name: _______________________________

   24            Signature: __________________________________

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   26
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   28                                                  -16-
